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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 ANDREW GIANCOLA, RAYMOND T.                          Case No.: 8:17-cv-02427-T-33AEP
 SCOTT, and PATRICIA SMITH, Individually
 and On Behalf of All Others Similarly
 Situated,

                 Plaintiffs,

         v.

 LINCARE HOLDINGS INC.,

                 Defendant.


 JOINT MOTION TO EXTEND STAY OF THE CASE AND DEFER ALL DEADLINES
  PENDING PARTIES’ COMPLETION OF SETTLEMENT NEGOTIATIONS, AND
               INCORPORATED MEMORANDUM OF LAW

       Pursuant to Local Rule 3.01, Plaintiffs Andrew Giancola, Raymond T. Scott, and Patricia

Smith (“Plaintiffs”) and Defendant Lincare Holdings Inc. (“Defendant” and together with

Plaintiffs, the “Parties”), by and through their respective undersigned counsel, hereby jointly move

the Court for entry of an order extending the stay of this litigation, and deferring all deadlines, for

forty-five (45) days from the date of expiration of the original stay and deferral of deadlines

previously granted by the Court—i.e., through and including April 23, 2018—to allow the Parties

to complete negotiation of the remaining terms of the settlement which was agreed-to in principle

by the Parties at a mediation held on February 20, 2018 in the above-captioned action (“Action”).

The Parties respectfully submit that good cause exists for the relief sought herein, as follows:

       1.      On January 23, 2018, the Parties filed their Joint Motion to Stay the Case and Defer

Current Deadlines for forty-five (45) days—through and including March 9, 2018—to allow the

Parties to participate in mediation agreed-upon and scheduled by the Parties for February 20, 2018

(Dkt. No. 30), and for the purpose of preserving the resources of Parties and the Court, and
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allowing the Parties to focus their time, resources, and effort on possible resolution of this matter

through mediation.

       2.      The Court granted the Parties’ joint request by Order dated January 24, 2018 (Dkt.

No. 31), staying and administratively closing this case until March 9, 2018, directing that the

Parties are to inform the Court of the status of this case by March 9, 2018, and noting that this case

will automatically return to active status on March 12, 2018, unless the Court orders otherwise.

       3.      As represented by the Parties’ in their initial request to stay the case and defer

deadlines, the Parties participated in their agreed-upon private mediation as scheduled on February

20, 2018 in Tampa, Florida, with mediator Steven R. Jaffe of Upchurch Watson White & Max

Mediation Group.

       4.      At mediation, the Parties agreed in principal to the material terms and structure of

a settlement that, if approved, will resolve this case in-full, on a class-wide basis, subject to

finalization of the Parties’ settlement through subsequent negotiation of remaining settlement

terms. Upon conclusion of mediation, the Parties agreed to continue to negotiate, in good faith,

the remaining settlement terms, as well as to draft and negotiate a comprehensive written

stipulation and agreement reflecting and memorializing the Parties’ settlement, as soon as

practicable. Mr. Jaffe also agreed to continue to oversee the remaining settlement discussions.

       5.      The Parties are still currently engaged in negotiation of the remaining settlement

terms and finalization of the Parties’ settlement, and the drafting and negotiation of a

comprehensive, written stipulation and agreement reflecting and memorializing the Parties’

settlement. Plaintiffs are also engaged in drafting preliminary settlement approval papers, which

they intend to submit for the Court’s review and consideration upon finalization of the Parties’

settlement.




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       6.      Accordingly, in order to preserve the resources of Parties and the Court, and in

order to allow the Parties to focus their time, resources, and effort on negotiating the remaining

settlement terms and finalizing the settlement, on drafting and negotiating a written,

comprehensive stipulation and agreement reflecting and memorializing the Parties’ settlement, and

on drafting preliminary settlement approval papers for the Court’s review and consideration, the

Parties respectfully request an extension of the temporary stay of these proceedings, and deferral

of all deadlines, for forty-five (45) days from the expiration of the original stay and deferral of

deadlines granted by the Court—i.e., through and including April 23, 2018. On that date, either:

(i) Plaintiffs will submit to the Court preliminary settlement approval papers, including a

stipulation and agreement reflecting and memorializing the Parties’ comprehensive settlement; or

(ii) the Parties will provide the Court with another status update and proposed schedule, if the

Parties are still engaged in negotiation of remaining settlement terms.

       7.      “The Court ‘has broad discretion to stay proceedings as an incident to its power to

control its own docket.’” See Chico v. Dunbar Armored, Inc., No. 1:17-cv-22701-EGT, 2017 U.S.

Dist. LEXIS 166035, at *3 (S.D. Fla. Oct. 6, 2017) (citing Clinton v. Jones, 520 U.S. 681, 706

(1997); Landis v. N. Am. Co., 299 U.S. 248, 254 (1936) (“[T]he power to stay proceedings is

incidental to the power inherent in every court to control the disposition of the causes on its docket

with economy of time and effort for itself, for counsel, and for litigants.”)); see also Danner

Constr. Co. v. Hillsborough Cty., No. 8:09-cv-00650-T-17TBM, 2009 U.S. Dist. LEXIS 92716,

at *3 (M.D. Fla. Sep. 24, 2009) (“It is well established that district courts have inherent authority

to issue stays in many circumstances.”) (citing Ortega Trujillo v. Conover & Co. Comm., 221 F.3d

1262, 1264 (11th Cir. 2000); Myron v. Rodriguez, No. 3:06-cv-01051-J-TEM, 2008 U.S. Dist.

LEXIS 13302 (M.D. Fla. Feb. 22, 2008)). Further, the Parties must demonstrate reasonableness




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and good cause to justify a stay. Chico, supra at *3-4. In deciding whether this burden is satisfied,

courts consider “(1) whether the litigation is at an early stage; (2) whether a stay will unduly

prejudice or tactically disadvantage the non-moving party; (3) whether a stay will simplify the

issues in question and streamline the trial; and (4) whether a stay will reduce the burden of

litigation on the parties and on the court.” Id. at *4-5 (citation omitted). Courts may also consider

“[t]he scope of the stay, including it[s] potential duration.” Danner, supra at *4 (citing Myron,

supra at *3).

       8.       Courts have routinely granted a temporary stay where, as here, the parties jointly

requested a stay to negotiate settlement terms. See, e.g., United States CFTC v. Vision Fin.

Partners, LLC, No. 16-cv-60297-JIC-BSS, 2017 U.S. Dist. LEXIS 115031, at *1 (S.D. Fla. Jan.

20, 2017) (“On August 10, 2016, the Court stayed this case upon the parties’ Joint Motion to Stay

Proceedings Pending Finalization of Proposed Settlement.”); Hatcher v. Desoto Cty. Sch. Dist. Bd.

of Educ., No. 2:13-cv-00138-FtM-38DNF, 2014 U.S. Dist. LEXIS 99454, at *3-4 (M.D. Fla. July

22, 2014) (“In this case, the parties previously advised they had reached a tentative settlement and

requested the Court to stay proceedings until they finalized a settlement agreement. The Court

granted the parties’ request and stayed the case until July 28, 2014.”); Haynes v. Shoney’s, No. 89-

cv-30093-RV, 1993 U.S. Dist. LEXIS 749, at *14 (N.D. Fla. Jan. 25, 1993) (“[S]hortly after this

case was commenced, the parties jointly moved for, and the court ordered, a stay of all litigation

activity in order to permit the parties to exchange information pertinent to settlement negotiations

and to attempt to negotiate a settlement.”).

       9.       As the Parties submit this request jointly, in good faith, at an early stage of

litigation, for a modest duration of time, and for the sole purpose of negotiating remaining

settlement terms and finalizing the Parties’ settlement, drafting and negotiating a comprehensive,




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written stipulation and agreement reflecting and memorializing the Parties’ settlement, and

drafting preliminary settlement approval papers for the Court’s review and consideration, the

requested relief will allow the Parties to focus their time, resources, and effort on resolution of this

matter, and thus will substantially reduce the burden on, and preserve the resources of, the Parties

and the Court.

        WHEREFORE, the Parties respectfully request this Motion be granted, and the Court

extend the stay of this litigation, and defer all deadlines, for forty-five (45) days from the date of

expiration of the original stay and deferral of deadlines granted by the Court—i.e., through and

including April 23, 2018—to allow the Parties to complete negotiation of remaining settlement

terms and finalize the Parties’ settlement, to complete drafting and negotiation of a comprehensive,

written stipulation and agreement reflecting and memorializing the Parties’ settlement, and to draft

preliminary settlement approval papers for the Court’s review and consideration. On that date,

either: (i) Plaintiffs will submit to the Court preliminary settlement approval papers, including a

stipulation and agreement reflecting and memorializing the Parties’ comprehensive settlement; or

(ii) the Parties will provide the Court with another status update and proposed schedule, if the

Parties are still engaged in negotiation of remaining settlement terms.

                                                Respectfully submitted,

 Dated: March 9, 2018                             JOHNSON FISTEL, LLP

                                                              /s/ David A. Weisz
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 Dated: March 9, 2018               PHELPS DUNBAR LLP

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                                RULE 3.01(G) CERTIFICATION

       The undersigned counsel certifies that he has conferred with Defendant’s counsel, and that

counsel agree on the resolution of this motion.

 Dated: March 9, 2018                                JOHNSON FISTEL, LLP

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                                  CERTIFICATE OF SERVICE

       The undersigned counsel certifies that on this day, he electronically filed the above and

foregoing with the Clerk of the Court using the CM/ECF system, which will automatically send

email notification of such filing to all attorneys of record.

 DATED: March 9, 2018                                JOHNSON FISTEL, LLP

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